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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-0997V
                                          UNPUBLISHED


    PHUONG DUNG THI HUYNH,                                      Chief Special Master Corcoran

                         Petitioner,                            Filed: August 26, 2020
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Hieu Quang Huynh, Houston, TX, for Petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION
                            AND ON ATTORNEY’S FEES AND COSTS1

       On July 11, 2018, Phuong Dung Thi Huynh filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered “injuries, including but not limited to
Petitioner’s right rotator cuff” as a result of an influenza (“flu”) vaccine that she received
on August 17, 2017. Petition at 1; Stipulation, filed at August 26, 2020, ¶¶ 4, 6. Petitioner
further alleges that she experienced the residual effect of this condition for more than six
months. Petition at 3; Stipulation at ¶4. “Respondent denies that the flu immunization
caused petitioner to suffer a rotator cuff injury or any other injury or condition. Respondent
further denies that petitioner sustained a Shoulder Injury Related to Vaccine
Administration, as defined in the Table.” Stipulation at ¶ 6.




1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Nevertheless, on August 26, 2020, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        a. A lump sum of $35,000.00, in the form of a check payable to Petitioner.
           Stipulation at ¶ 8. This amount represents compensation for all items of
           damages that would be available under Section 15(a). Id.

        b. A lump sum of $10,902.00, in the form of a check payable jointly to
           Petitioner and Petitioner’s attorney, Hieu Huynh, for attorney’s fees and
           costs available under 42. U.S.C. § 300aa-15(e). In compliance with General
           Order #9, Petitioner represents that she incurred no out-of-pocket litigation
           expenses in proceeding on the petition.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                    2
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